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IRM 2104.1ADD (4/12) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

af. Directive #4944, 4004 USE OF FORCE REPORT - PART B - ADDENDUM

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SUPERINTENDENT'S SIGNATURE AND DATE

Dist: Original - Superintendent Copy - Guidance unit file(s) of inmate(s) involved
